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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:farrowvvickienira,healthserviceno24sc49august5,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Michael D. Farrow&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Vickie Nira, Health Service&lt;/span&gt; &lt;span class="ldml-role"&gt;Administrator&lt;/span&gt;&lt;/span&gt; for &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Sterling Correctional Facility&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC49&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;August 5, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="197" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="197" data-sentence-id="214" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_214"&gt;&lt;span class="ldml-cite"&gt;Case No. 23CA156&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="254" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="254" data-sentence-id="277" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="DENIED PETITIONS FOR WRIT OF CERTIORARI" data-content-heading-label="

 DENIED PETITIONS FOR WRIT OF CERTIORARI
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 &lt;span data-paragraph-id="317" data-sentence-id="340" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;DENIED &lt;span class="ldml-entity"&gt;PETITIONS FOR WRIT&lt;/span&gt; OF CERTIORARI&lt;/em&gt;&lt;/span&gt;
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